              Case 2:11-cr-00275-JAM Document 157 Filed 02/11/14 Page 1 of 3


     DAVID D. FISCHER (SBN 224900)
 1   LAW OFFICES OF DAVID D. FISCHER, APC
     1007 7th Street, Suite 100
 2   Sacramento, CA. 95814
 3   Tel. (916) 447-8600
     Fax (916) 930-6482
 4   E-Mail: davefischer@yahoo.com
 5   Attorney for Defendant
     PABLO VASQUEZ
 6

 7
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                EASTERN DISTRICT OF CALIFORNIA
 9

10                                                   )       No. 2:11-CR-00275 JAM
     UNITED STATES OF AMERICA,
                                                     )
11                                                   )       STIPULATION REGARDING
            Plaintiff,                               )       EXCLUDABLE TIME PERIODS UNDER
12                                                   )       SPEEDY TRIAL ACT;
     v.                                              )       FINDINGS AND ORDER
13                                                   )
                                                     )
14   PABLO VASQUEZ,                                  )
                                                     )
15                                                   )
            Defendant.                               )
16                                                   )
                                                     )
17

18

19

20                                           STIPULATION
21          Plaintiff United States of America, by and through its counsel of record, and the

22   defendant, by and through her counsel of record, hereby stipulate as follows:

23          1.      By previous order, this matter was set for a status conference for a potential

24   change of plea on February 11, 2014.

25          2.      By this stipulation, the defendant now moves to continue the status conference

26   until February 18, 2014 at 9:45 a.m., and to exclude time between February 11, 2014, and
     February 18, 2014,

27   under Local Code T4. Plaintiff does not oppose this request.

28          3.      The parties agree and stipulate, and request that the Court find the following:


                                                         1
                 Case 2:11-cr-00275-JAM Document 157 Filed 02/11/14 Page 2 of 3



 1          a.       The government has represented that the discovery associated with this case
 2   includes approximately 4,588 pages of investigative reports and related documents in electronic
 3   form. All of this discovery has been either produced directly to counsel and/or made available
 4   for inspection and copying.
 5          b.       A plea agreement has been tendered.           An issue has arisen that will require
 6   additional work. Counsel for the defendant desires additional time to consult with his respective
 7   client, to review the current charges, to conduct investigation and research related to the charges,
 8   to review and copy discovery for this matter, to discuss potential resolutions with his client, to
 9   prepare pretrial motions, and to otherwise prepare for trial.
10          c.       Counsel for the defendant believes that failure to grant the above-requested
11   continuance would deny the defendant the reasonable time necessary for effective preparation,
12   taking into account the exercise of due diligence.
13          d.       The government does not object to the continuance.
14          e.       Based on the above-stated findings, the ends of justice served by continuing the
15   case as requested outweigh the interest of the public and the defendant in a trial within the
16   original date prescribed by the Speedy Trial Act.
17          f.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,
18   et seq., within which trial must commence, the time period of February 11, 2014, to February 18,
19   2014, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code
20   T4] because it results from a continuance granted by the Court at defendant’s request on the basis
21   of the Court's finding that the ends of justice served by taking such action outweigh the best
22   interest of the public and the defendant in a speedy trial.
23          4.       Nothing in this stipulation and order shall preclude a finding that other provisions
24   of the Speedy Trial Act dictate that additional time periods are excludable from the period within
25   which a trial must commence.
26

27   IT IS SO STIPULATED.
28




                                                       2
             Case 2:11-cr-00275-JAM Document 157 Filed 02/11/14 Page 3 of 3



 1

 2

 3
     Dated: February 7, 2014                          BENJAMIN WAGNER
 4
                                                      U.S. ATTORNEY
 5
                                                by:   /s/ David D. Fischer for
 6                                                    JASON HITT
                                                      Assistant U.S. Attorney
 7                                                    Attorney for Plaintiff
 8

 9   Dated: February 7, 2014                          /s/ David D. Fischer
10
                                                      DAVID D. FISCHER
                                                      Attorney for Defendant
11                                                    PABLO VASQUEZ
12

13

14
                                       ORDER
15

16

17   IT IS SO FOUND AND ORDERED this 10th   day of February, 2014.
18

19

20
                                                   /s/ John A. Mendez
                                                HON. JOHN A. MENDEZ
21                                              U.S. DISTRICT COURT JUDGE

22

23

24

25

26

27

28




                                            3
